               Case 3:18-md-02843-VC Document 282 Filed 05/31/19 Page 1 of 1




                                             May 31, 2019

VIA ECF

The Honorable Vince Chhabria
United States District Court Judge
San Francisco Courthouse
Courtroom 4, 17th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

         Re:      In re: Facebook, Inc. Consumer Privacy User Profile Litigation,
                  No. 3:18-cv-02843-VC

Dear Judge Chhabria:

        Pursuant to leave granted by the Court at the May 29, 2019 hearing, Plaintiffs hereby
identify allegations that Facebook violated users’ privacy and application settings:

              See ECF No. 257 at ¶¶ 7, 10, 292, 343-45, 374-83, 415, 428-29, 440, 496-97, 514-16,
               528, 554, 563, 595, 600-602, 628, 631, 640, 678-80, 683-85, 710, 733, 741.

                                                      Sincerely,




      Lesley E. Weaver                                Derek W. Loeser
      lweaver@bfalaw.com                              dloeser@kellerrohrback.com


cc:      All counsel on ECF
4818-6461-3528, v. 1
